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Attorney for Defendant
MICHAEL JOHN AVENATTI

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff,
Vv.
MICHAEL JOHN AVENATTI,
Defendant.

SA CR No. 19-061-JVS

DEFENDANT’S REQUEST FOR
CLARIFICATION REGARDING THE
COURT’S RULING ON PRETRIAL
SERVICES REPORT [Docket No. 239]

 

 

Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti’’) by and through his

counsel of record, H. Dean Steward, hereby files this Request for Clarification

Regarding the Court’s Ruling on Pretrial Services Report [Docket No. 239].

Dated: August 13, 2020

Respectfully submitted,

/s/ H. Dean Steward
H. DEAN STEWARD

Attorney for Defendant
MICHAEL JOHN AVENATTI

 
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On August 11, 2020, this Court issued its Ruling on Pretrial Services Report
[Docket No. 239]. By Motion [Docket No. 207], Defendant Avenatti had previously
sought to prevent the disclosure and use of the entirety of various attachments to the
Digital Forensic Examination Report (the “Report”) on the grounds that disclosure of the
information would violate various rights of the Defendant and his counsel, including the
attorney-client privilege, the work product doctrine and those afforded by the Sixth
Amendment. The Court granted the Defendant’s Motion in part and ordered various
fields and information included in records attached to the Digital Report to be
deleted/redacted, including the “Filename”, “Title”, and “Attachment Name.” The
Court, however, did not order the “Source” field within Attachments B, E and F to be
deleted/redacted, despite the fact that this field discloses the Filenames, Titles and
Attachment Names in the body of the field. Defendant believes that this inconsistency
likely results from the Court being unaware when reviewing the Digital Report that the
Source field included this same information.

Accordingly, Defendant respectfully requests that the Court clarify its Ruling by
stating that the “Source” field within Attachments B, E and F shall also be
deleted/redacted by Pretrial Services.

Dated: August 13, 2020 Respectfully submitted,

/s/ H. Dean Steward
H. DEAN STEWARD

Attorney for Defendant
MICHAEL JOHN AVENATTI

 
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CERTIFICATE OF SERVICE
I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
age. My business address is 107 Avenida Miramar, Ste. C, San Clemente, CA 92672. I
am not a party to the above-entitled action. I have caused, on August 13, 2020, service

of the defendant’s:

DEFENDANT’S REQUEST FOR CLARIFICATION REGARDING THE COURT’S
RULING ON PRETRIAL SERVICES REPORT [Docket No. 239]

on the following party, using the Court’s ECF system:
AUSA BRETT SAGEL AND AUSA JULIAN ANDRE
I declare under penalty of perjury that the foregoing 1s true and correct.

Executed on August 13, 2020

/s/ H. Dean Steward
H. Dean Steward

 
